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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

BARBARA FRYE                                                                           PLAINTIFF

v.                               Case No. 4:21-cv-1173-KGB

NOVARTIS PHARMACEUTICALS
CORPORATION                                                                          DEFENDANT

                                              ORDER

       Before the Court is plaintiff Barbara Frye and defendant Novartis Pharmaceuticals

Corporation’s (“Novartis”) joint motion to stay proceedings pending resolution of motion to

dismiss (Dkt. No. 32). On January 18, 2022, Novartis filed a motion to dismiss Ms. Frye’s

complaint (Dkt. No. 6). Novartis also filed a motion for hearing on the pending motion (Dkt. No.

10). In their motion, the parties represent that Novartis’ motion to dismiss could potentially

dispose of this case and thereby preserve the Court’s time and resources (Dkt. No. 32, ¶ 1). The

parties state that no prejudice would result from a stay in this matter and that, to the contrary, the

parties would both suffer hardship absent a stay (Id., ¶ 3). For these reasons, the parties request

that the Court stay proceedings pending resolution of Novartis’ motion to dismiss (Id.).

       For good cause shown, the Court grants the motion (Dkt. No. 32). The Court stays all

deadlines set forth in the Court’s Initial Scheduling Order until such time as it has ruled on

Novartis’ motion to dismiss (Dkt. No. 28).

       It is so ordered this 24th day of June, 2022.

                                                       ____________________________________
                                                       Kristine G. Baker
                                                       United States District Judge
